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                   EXHIBIT 3
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                         Declaration of Paul Matthews

1.    My name is Paul Matthews. I am over the age of 18 and am competent to make
      this declaration. The facts set forth in this declaration are based on my
      personal knowledge.

2.    I am the Executive Director of the Port of South Louisiana.
o
o.    The Legislature established the Port of South Louisiana as a political
      subdivision of the State of Louisiana. La. Rev. Stat. $ 34:247L. The Commission
      board is comprised of nine members serving four-year terms, concurrent with
      the governor's term. They oversee policy decisions that govern Port Fourchon
      and the South I,afourche Airport, and they have the authority to regulate
      commerce and traffic, enact ordinances, levy taxes, and lease property, among
      other things. 1d. SS 2473 et seq.

4.    The Port of South Louisiana is located between New Orleans and Baton Rouge,
      Louisiana, sprawling along 54 miles of the Lower Mississippi River. As one of
      the largest tonnage ports in the Western Hemisphere, the Port of South
      Louisiana is the #1 grain exporter in the United States (over bO% of the
      nation's grain is exported via the Port of South Louisiana).

5.    With over 36 million tons of crude oil imports per year, 3 major oil refineries,
     and 11 petrochemical manufacturing facilities, the Port of South Louisiana has
     been ranked tlte #2 energy transfer port in the nation (accountin g for 670/o of
     imports of crude oil, petroleum products and other mineral fuets).

6.   In the United States, the Port of South Louisiana ranks #1 in total dornestic
     trade, #2 in total foreign trade and imports, and #3 in exports. The port
     accounts for 15%o and 57% of total U.S. and Louisiana exports, respectively. It
     is an industrial region known for its petroleum refining, grain and
     petrochemical transfer and storage facilities.

7.   The Port also operates one of the most active F oreign Trade Zones in the
     country (ranked 4th). In 2020, it received over $34.6 billion in merchandise and
     facilitated the empioyment of over 9,407.

8.   The Port envelops the parishes of St. Charles, St. John the Baptist, and St.
     James, collectively named the River Region. It lies at the intersection of the
     Mississippi River and the Gulf of Mexico.

9.   Along both banks of the Mississippi River, more than 50 piers and docks owned
     and operated by an impressive group of industry that includes ADM, Dow,
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       Cargill, Valero, Bunge, Marathon, Shell, and Nucor Steel reside within the
       district. The region continues to attract billions of dollars of investment
       (currently at $23.262 billion in the last 10 years) by companies within, but not
       limited to, the petrochemical, fertilizer, and Iogistics industries.

10.    The Port contributes $1.8 billion in income (41% of all personal income of
       residents in the River Region), $14.4 billion in revenue, and $72.5 million in
       state and local taxes and handles over $83 billion in trade annually that
       supports over 30 thousand direct jobs (6 out of 10 jobs) in the River Region.
       The strength of the port industry in the River Region is crucial to Louisiana's
       overall economic wellbeing and general flourishing.

11.    The Port is a major hub for the country's imports and exports, and the tonnage
       of imports and exports through the Port has continued to increase. For
       instance, it increased by 4% in 2022.

L2.    Because the Port of South Louisiana serves as a gateway to the Guif for many
      industries, the Port's location is imperative to operations. Although the Port's
      (1) proximity to the coast, the Gulf of Mexico, and the Mississippi River, (2)
      proximity to a hullicane zorre, and (3) low eievation leave it vulnerable to
      flooding, its location is one of its defining features.

13.   Because the Port of South Louisiana cannot relocate its facilities, the increased
      cost of flood insurance is harming the port.

t4.   Risk Rating 2.0 inhibits the Port's abitity to attract workers to serve all the
      industries based out of the Port.

15.   To avoid any disruption to the Port of South Louisiana activities, it is
      important that it maintains a strong and dependable labor force.

16.   Port workers need to live in close proximity to the Port in order to perform
      their iobs. Vessel arrival times are not always predictable and cargo needs to
      be unloaded quickly and safely upon arrival resulting in irregular working
      hours. When port workers live in close proximity to the Terminal, they are
      better able to handle the irregular and often long work hours. Vessels may be
      waiting to berth, and navigating in and out of the harbor may be affected by
      tides.

77_   The Port of South Louisiana, its tenants, and the river region currently have a
      strong workforce. However, Risk Rating 2.0 could drive families out of the area,
      causing them to seek employment elsewhere. Having the workforce relocate to
      an area that is more affordable to insure wiil weaken the workforce
      significantly.
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18. The implications would be significant at the local, state, and federal level. A
      weakened workforce means cargo is not moving at the necessary pace to meet
      the demand. When goods are not getting through the Port, on to the trucks,
      and ultimately to the store shelves, everyone suffers. Vessels will take longer
      to load or unload costing the shippers, vessel owners, and stevedores more
      money to move less cargo. The backlog of vessels awaiting a berth will grow
      causing them to seek alternate Ports in other regions of the country. Continued
      berth delays in our Port jurisdiction will cause shippers to boycott the area due
      to the increased lay time (down time waiting) and cost on their vessel.

19. The consequences of a weakened workforce go beyond the United States.
    Because of the exports moving through the Port, other countries will suffer if
      they cannot access these goods. For example, the Port of South Louisiana is
      responsible for exporting 98 M tons of grain to over 90 countries globally each
      year. Ifvessels are unable to transport this grain to other countries because
      of the backlog of vessels and the reduced workforce, it will cut off an important
      source offood for people abroad.

I declare under penalty of perjury that the foregoing is true and correct.
Executed in Reserve, Louisiana, this Sth day of June 2028.




                                                            PauI Matthews
                                                            Executive Director/CEO
                                                            Port of South Louisiana




                                          J
